            Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 1 of 12




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


                                                       Criminal No.
      UNITED STATES OF AMERICA
                                                       Violation:
                 V.


                                                       Count One: Conspiracy to Commit
      DAVID SIDOO,                                     Mail and Wire Fraud
                                                       (I8U.S.C. § 1349)
                        Defendant.

                                                       Forfeiture Allegations:
                                                       (18 U.S.C.§ 981(a)(1)(C) and
                                                       28 U.S.C. § 2461)



                                          INDICTMENT


      At all times relevant to this Indictment:


                                       General Allegations


       1.       Defendant, David SIDOO ("SIDOO"), was a resident of Vancouver, Canada.

SIDOO has two sons.


       2.       William Rick Singer, was a resident, variously, of Sacramento and Newport Beach,

California.


       3.       Mark Riddell was a resident of Palmetto, Florida.

       4.       The Edge College & Career Network, LLC, also known as "The Key," was a for-

profit college counseling and preparation business that Singer founded in or about 2007 and

incorporated in the State of California in or about 2012.

       5.       ACT, Inc. is a non-profit organization headquartered in Iowa City, Iowa that

administers the ACT, a standardized test that is widely used as part of the college admissions

process in the United States.
              Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 2 of 12




         6.       The College Board is a non-profit organization headquartered in New York, New

York. Together with Edueational Testing Service ("ETS"), a nonprofit organization headquartered

in Lawrence Township, New Jersey, the College Board develops and administeris the SAT, a

standardized test that, like the ACT, is widely used as part ofthe college admissions process in the

United States. The College Board and ETS also develop and administer SAT subject tests, which

are also used as part of the college admissions process.

                                 Background on Standardized Testing

         7.       Most selective colleges in the United States require students to take a standardized

test, such as the ACT or the SAT, as part of the admissions process.

         8.       The ACT includes sections on English, mathematics, reading and science.

         9.       The SAT includes sections on writing, critical reading and mathematics.

         10.      The ACT and the SAT are typically administered to large groups of students on

specified dates and under strict time limits. In some instances, however, students with certain

learning or other disabilities may qualify for extended time and, in such circumstances, may take

the test alone, under the supervision of a test administrator retained by ACT, Inc. or the College

Board.


         11.      Prior to administering the ACT, test administrators must typically certify that they

will administer the test in accordance with the ACT Administration Manual, and that they will

ensure that the "test materials are kept secure and confidential, used for this examinee only, and

returned to ACT immediately after testing."
           Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 3 of 12




        12.    Similarly, prior to administering the SAT, test administrators must typically certify

that they will administer the test in accordance with the SAT coordinator's manual, that the SAT

test is the property of the College Board, and that no one other than the student can "open the test

book and see the test content."


        13.    The ACT tests are sent to and from the testing sites via Federal Express, a private,

interstate commercial carrier.

        14.    The SAT tests are sent to and from the testing sites via United Parcel Service

("UPS"), a private, interstate commercial carrier.

                                           The Conspiracv


        15.          From in or about 2011 through in or about February 2019, SIDOO conspired

with Riddell, Singer and others known and unknown to the Grand Jury to commit mail and wire

fraud by (1) cheating on college entrance exams, including by having Riddell secretly take the

exams in place of the actual students, or replace the students' exam responses with his own; and

(2) submitting the falsified test scores to colleges and universities as part of the college admissions

process.


                               Purposes and Objects of the Conspiracv

        16.    The principalpurposesand objects of the conspiracy includedthe following;

               a.        to cheat on college entrance exams;

               b.        to facilitate the admission of applicants to selective colleges and

                         universities through the submission of fraudulently obtained exam scores;

                         and


                c.       to enrich Riddell and Singer personally.
          Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 4 of 12




                               Manner and Means of the Conspiracy


       17.     Among the manner and means by which SIDOO, Riddell, Singer and others known

and unknown to the Grand Jiuy carried out the conspiracy were the following:

               a.      cheating on the SAT and ACT by having Riddell secretly take the tests in

                       place of actual students, or replace the students' responses with his own;

               b.      submitting the fraudulently obtained scores as part ofthe college admissions

                       process, including to colleges and universities in the District of

                       Massachusetts.


                               Acts in Furtherance of the Consniracv

       18.     On various dates from in or about 2011 through in or about February 2019, SIDOO,

Riddell, Singer and others known and unknown to the Grand Jury committed and caused to be

committed the following acts, among others, in furtherance of the conspiracy:

       19.     In or about the fall of 2011, SIDOO agreed to pay Singer $100,000 to have Riddell

secretly take the SAT in place of SIDOO's older son.

       20.     In or about September 2011, SIDOO e-mailed Singer copies of his older son's

driver's license and student identification card for the purpose of creating a falsified identification

card for Riddell.


       21.     Singer used the documents to obtain a falsified identification card bearing Riddell's

likeness and the name of SIDOO's older son.


       22.     On or about December 2, 2011, Riddell flew from Tampa, Florida to Vancouver,

Canada to take the SAT in place of SIDOO's older son.

        23.     Singer directed Riddell not to obtain too high a score, because SIDOO's older son

had previously taken the exam himself and obtained a total score of 1460 out of a possible 2400.
          Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 5 of 12




       24.     On or about December 3,2011, Riddell used the falsified identification card to pose

as SIDOO's older son in order to secretly take the SAT in his place. Riddell earned a total score

of 1670 out of a possible 2400.                                                   i

       25.     After the exam, on December 3,2011, Riddell returned to Tampa.

       26.     On or about December 23,2011, Singer e-mailed a copy of the SAT score Riddell

secretly obtained to an admiiiistratorat Chapman University ("Chapman"), a private university in

Orange, California, on behalf of SIDOO's older son.

       27.     SIDOO's older son was admitted to Chapman on or about January 24, 2012, and

ultimately enrolled at that university.

       28.     SIDOO paid Singer $100,000, as agreed, for having Riddell take the SAT for

SIDOO's older son.


       29.     In or about 2012, SIDOO agreed to pay Singer to have Riddell secretly take a

Canadian high school graduation exam in place of SIDOO's older son.

        30.    On or about May 15, 2012, Singer purchased plane tickets for Riddell to fly from

Tampa to Vancouver on June 8,2012, and to return to Tampa shortly thereafter.

        31.    On or about June 8,2012, Riddell flew to Vancouver.

        32.    On or about June 9,2012, Riddell posed as SIDOO's older son in order to secretly

take the Canadian high school graduation exam in his place.

        33.    After the exam, on Jime 10,2012, Riddell returned to Tampa.

        34.    In or about the fall of 2012, SIDOO agreed to pay Singer $100,000 to have Riddell

secretly take the SAT in place of SIDOO's yormger son.
          Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 6 of 12




        35.     On or about October 31, 2012, SIDOO emailed Singer a document listing his

younger son's address and other personally identifiable information for the purpose of creating a

falsified identification card for Riddell.


        36.     Singer used the information to obtain a falsified identification card bearing

Riddell's likeness and the name of SIDOO's younger son.

        37.     On or about November 22,2012, Singer purchased a plane ticket for Riddell to fly

firom Tampa to Los Angeles, California on November 29, 2012, in order to take the SAT for

SIDOO's younger son.

        38.     Singer directed Riddell to obtain a high score because SIDOO's younger son had

not previously taken the SAT.

        39.     On or about November 29,2012, Riddell flew firom Tampa to Los Angeles.

        40.     On or about December 1, 2012, Riddell used a falsified identification card to pose

as SIDOO's youngerson in order to secretlytake the SAT in his place at a high school in Orange

County, California. Riddell earned a total score of 2280 out of a possible 2400.

        41.     After the exam, Riddell returned to Tampa.

        42.     On or about January 21, 2013, SIDOO sent an e-mail to Singer asking for wire

transfer instructions.


        43.     On or about January 22,2013, an employee ofthe Edge College & CareerNetwork,

LLC provided SIDOO with wire instructions for a company bank accoimt in California.

        44.     On or about January 23, 2013, SIDOO wired $100,000 to the account, as agreed,

for having Riddell take the SAT for SIDOO's younger son.
          Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 7 of 12




       45.     In 2013 and 2014, SlDOO's younger son caused the SAT scores Riddell secretly

obtained on his behalf to be sent to universities in the United States as part of his college

applications, including on or about December 6, 2013 to Yale University in New Haven,

Connecticut, on or about November 1, 2013 to the University of California —Berkeley, and on or

about March 12,2014 to Georgetown University in Washington, D.C.                i

       46.     In or about March 2014, SlDOO's younger son was accepted to the University of

California - Berkeley, and he later enrolled at that university.

       47.     Singerpaid Riddell approximately$5,000 plus travel expenses for each ofthe three

exams Riddell took in place of SlDOO's children.

       48.     In addition to the exams Singer paid Riddell to take for SlDOO's children. Singer

likewise paid Riddell to secretly take the SAT and ACT for the children of other co-conspirators

known and unknown to the Grand Jury, or to replace their responses with his own, and Singer in

some ofthose instances also bribed the test administrators to permit Riddell to do so. As examples:

               a.   In or about October 2011, Riddell provided Student 1, a high school student in

                    Florida, with answers to her SAT subject tests as he proctored Student I's

                    exams.



               b.   On or about October 3, 2015, Riddell replaced the responses on the SAT for

                    Student 2, a high school student in California, who later sent those scores to

                    Boston University, Boston College and Northeastern University, all of which

                    are located in District of Massachusetts.


               c.   On or about December 9,2017, Riddell replaced the responses on the ACT for

                    Student 3, a high school student in California, who later sent those scores to

                    Northeastern University.
         Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 8 of 12




       49.     On or about October 25, 2018, Singer called SIDOO from Boston, Massachusetts.

In the call, SIDOO noted that his older son was applying to business school, adding, "I thought

you were gonna call me and say I got a 2100 on my GMAT"—a reference to a standardized test

that is widely used as part ofthe business school admissions process, which is scored on a scale of

200 to 800. Singer responded, "They don't have a 2100 for the GMAT. But I would do my best to

get it for ya." SIDOO replied, "I know."
         Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 9 of 12




                                            COUNT ONE
                             Conspiracy to Commit Mail and Wire Fraud
                                          (18U.S.C. § 1349)

       The Grand Jury charges:

       50.       The Grand Jury re-alleges and incorporates by reference paragraphs 1-49 of this

Indictment.


       51.       From in or about 2011, and continuing through in or about February 2019, in the

District of Massachusetts, the District of Connecticut, the Northern District of California, the

District of Columbia, and elsewhere, the defendant,

                                           DAVID SIDOO,

conspiredwith William Rick Singer, Mark Riddell and others known and unknownto the Grand

Jury to commit the following offenses:

       a. mail fraud, that is, having devised and intending to devise a scheme and artifice to

             defraud and to obtain money and property, to wit, testing materials and test scores of

             the ACT and the College Board, by means of materially false and fraudulent pretenses,

              representations and promises, did, for the prupose of executing and attempting to

              execute the scheme, deposit and cause to be deposited any matter and thing whatever

              to he sent and delivered by any private and commercial interstate carrier, in violation

              of Title 18, United States Code, Section 1341.

       b. wire fraud, that is, having devised and intending to devise a scheme and artifice to

              defraud and to obtain money and property by means of materially false and fraudulent

              pretenses, representations and promises, did transmit and cause to be transmitted, by

              means of wire communications in interstate and foreign commerce, writings, signs.
 Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 10 of 12




   signals, pictures and sounds, for the purpose of executing the scheme to defraud, in

   violation of Title 18, United States Code, Section 1343.

All in violation of Title 18, United States Code, Section 1349.




                                        10
         Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 11 of 12




                                 FORFEITURE ALLEGATION
                       (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

        The Grand Jury further finds that:

       52.     Upon conviction ofthe offense in violation ofTitle 18, United States Code, Section

1349, set forth in Count 1 of this Indictment, the defendant,

                                         DAVID SIDOO,

 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C),

and Title 28, United States Code, Section 2461(c), any property, real or personal, which

constitutes or is derived from proceeds traceable to the offense.

       53.     If any of the property described in Paragraph 52, above, as being forfeitable

pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code,

Section 2461(c), as a result of any act or omission of the defendant ~

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                   difficulty;

it is the intention of the United States, pursuant to Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other property

of the defendant up to the value of the property described in Paragraph 52 above.

       All pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United

States Code, Section 2461(c).




                                                 11
         Case 1:19-cr-10080-NMG Document 1 Filed 03/05/19 Page 12 of 12




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ERIC S. ROSEN
JUSTIN D. O'CONNELL
KRISTEN A. KEARNEY
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ASSISTANT UNITED STATES ATTORNEYS
DISTRICT OF MASSACHUSETTS



District of Massachusetts: MARCH 5, 2019
Returned into the District Court by the Grand Jurors and filed.



                                                       EPUTY CLERK




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